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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                         November 02, 2015
                 IN THE UNITED STATES DISTRICT COURT                                     David J. Bradley, Clerk
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                       - BROWNSVILLE DIVISION -
UNITED STATES OF AMERICA                          §
                                                  §
VS.                                               §                CRIMINAL NO. B-15-832-4
                                                  §
Miguel Athiel Martinez-Zurita                     §

                          REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE

       The Magistrate Court submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). This case has been referred, pursuant to General Order No. 15-

002, to the United States Magistrate Judge for the taking of a felony guilty plea and the Federal Rule

of Criminal Procedure Rule 11 Allocution. All parties have waived the right to plead before a

United States District Judge, and have executed a consent to proceed before a United States

Magistrate Judge.

       On November 2, 2015, the defendant and counsel appeared before the Magistrate Judge,

who addressed the defendant personally in open court and informed the defendant of the

admonishments under Rule 11 of the Federal Rules of Criminal Procedure. The Magistrate Judge

determined that the defendant was competent to plead guilty and fully understood said

admonishments.

       The defendant entered a plea of guilty to the offense of knowingly and intentionally possess

with intent to distribute a quantity more than one hundred (100) kilograms, that is, approximately

310 kilograms (683.43 pounds) of marihuana, a Schedule I controlled substance, in violation of Title

21, United States Code, Sections 841(a)(1) and 841(b)(1)(B), and Title 18, United States Code,


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Section 2 as charged in Count Two of the Indictment. A written plea agreement was recited on the

record. The government agreed to recommend sentencing at the bottom of the Guideline level he

scores and be given full credit for acceptance of responsibility. Additionally, the government will

move to dismiss the remaining Count of the Indictment at sentencing. The Court explained to the

defendant that he would be subject to sentencing pursuant to the Sentencing Guidelines promulgated

by the United States Sentencing Commission. The Court also explained that parole had been

abolished and that the defendant could receive a term of supervised release. The Court explained

the range of punishment with regard to imprisonment, fines, restitution, supervised release, and the

statutory fee assessment pursuant to the Victim of Crime Act.

       The Magistrate Judge finds the following:

       1)      The defendant, with the advice of his attorney, has consented orally and in writing

               to enter this guilty plea before the Magistrate Judge, subject to final approval and

               sentencing by the District Judge;

       2)      The defendant fully understands the nature of the charges and penalties;

       3)      The defendant understands his constitutional and statutory rights and wishes to waive

               these rights;

       4)      The defendant’s plea is made freely and voluntarily;

       5)      The defendant is competent to enter this plea of guilty; and

       6)      There is an adequate factual basis for this plea.



                                     RECOMMENDATION

       The Magistrate Court RECOMMENDS that the District Court accept the plea of guilty and,


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after reviewing the presentence investigation report, enter final judgment of guilt against the

defendant.

                                           WARNINGS

       The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections. Battle

v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A parties failure to file written objections to the proposed findings and recommendations

contained within this Report within 14 (fourteen) days after being served with a copy of the Report

shall bar that party from de novo review by the district court of the proposed findings and

recommendations and, except upon grounds of plain error, shall bar the party from appellate review

of proposed factual findings and legal conclusions accepted by the district court to which no

objections were filed. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-153, 106

S.Ct. 466, 472-74 (1985); Douglas v. United Services’ Automobile Ass’n, 79 F.3d 1415, 1428-29

(5th Cir. en banc 1996).

       The Clerk is directed to send a copy of this Report and Recommendation to all parties.

       SIGNED this 2nd day of November, 2015.




                                                                   Ronald G. Morgan
                                                              United States Magistrate Judge




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